  Case 3:19-cr-00002     Document 114      Filed on 10/03/23 in TXSD    Page 1 of 2

                                                                         United States Courts
                                                                       Southern District of Texas
                                                                                FILED
                     UNITED STATES DISTRICT COURT
                                                                          October 03, 2023
                      SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION                         Nathan Ochsner, Clerk of Court


UNITED STATES OF AMERICA                      '
                                              '
                                              ' CRIMINAL No. 3:19-CR-00002
             VS.                              '
                                              '
WARREN C. CLARK                               '
Defendant.

                                 INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

                                   COUNT ONE

    Receiving Military Type Training from a Designated Foreign Terrorist
                                 Organization
                    (Title 18, United States Code, §2339D)

      Beginning in or about June 2015, and continuing thereafter, the exact date

being unknown to the United States Attorney, until or about September 2015, the

exact date being unknown to the United States Attorney, the defendant

                              WARREN C. CLARK,

a national of the United States, whose last known place of residence was in the

Southern District of Texas and who was first brought to the Southern District of

Texas, in Syria and elsewhere out of the jurisdiction of any particular state or

district, did knowingly receive military type training from and on behalf of the

                                          1
  Case 3:19-cr-00002     Document 114     Filed on 10/03/23 in TXSD    Page 2 of 2




Islamic State of Iraq and al-Sham (ISIS), to wit, training in the use of firearms and

other military measures, ISIS being at all relevant times designated by the

Secretary of State as a foreign terrorist organization pursuant to Section 219 of the

Immigration and Nationality Act, and the defendant knowing that ISIS was a

designated foreign terrorist organization and knowing that the organization has

engaged in and engages in terrorist activity and terrorism.

      All in violation of Title 18, United States Code, Section 2339D and 3238.



                                                     Alamdar Hamdani
                                                     United States Attorney
                                                     Southern District of Texas


                                       By:         /s/ S. Mark McIntyre
                                                     S. Mark McIntyre
                                                     Craig M. Feazel
                                                     Assistant U.S. Attorneys




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